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                                                                                                         United States District Court
                                                                  3                                       Northern District of California
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                                                                                                                             Case No.: CR 12-0872 EMC-01
                                                                  6   UNITED STATES OF AMERICA,

                                                                  7                    Plaintiff,                            DETENTION ORDER

                                                                  8             v.

                                                                  9   SAEID MOHABAT,

                                                                 10                    Defendant.
                               Northern District of California




                                                                 11
United States District Court




                                                                 12                                          I. DETENTION ORDER

                                                                 13             Defendant Saeid Mohabat is charged in an Indictment with violations of 18 U.S.C. §§ 371

                                                                 14   (conspiracy), 554 (smuggling), 22 U.S.C. § 2778(b)(2), (c) and C.F.R. §§ 121.1, 123.1, 127.1

                                                                 15   (unlawful export in violation of the AECA and ITAR), 50 U.S.C. § 1705(a), (c) and 31 C.F.R. §§

                                                                 16   560.203, 560.204 (unlawful export in violation of the IEEPA and ITR). At the May 3, 2013

                                                                 17   hearing before this Court, Defendant was in custody and represented by Federal Public Defender

                                                                 18   Steve Kalar. Assistant United States Attorney Maureen Besette appeared on behalf of the United

                                                                 19   States.

                                                                 20             Defendant waived the timing of his right to proffer information at a detention hearing, see

                                                                 21   18 U.S.C. § 3142(f), and also waived findings, while retaining his right to seek release at a later

                                                                 22   hearing should his circumstances change. The Court notes that Defendant is subject to an

                                                                 23   immigration detainer issued by U.S. Immigration and Customs Enforcement.

                                                                 24                                             II. CONCLUSION

                                                                 25             The Court hereby detains Defendant, but because he has waived his right to present
                                                                 26   information under 18 U.S.C. § 3142(f) without prejudice to raising relevant information at a later

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                                                                  1   hearing, the Court orders that the hearing may be reopened at Defendant’s request at any future
                                                                  2   time.
                                                                  3           Defendant shall remain committed to the custody of the Attorney General for confinement
                                                                  4   in a corrections facility separate, to the extent practicable, from persons awaiting or serving
                                                                  5   sentences or being held in custody pending appeal. Defendant shall be afforded reasonable
                                                                  6   opportunity for private consultation with counsel. On order of a court of the United States or on
                                                                  7   request of an attorney for the Government, the person in charge of the corrections facility in
                                                                  8   which Defendant is confined shall deliver Defendant to a United States marshal for the purpose of
                                                                  9   an appearance in connection with a court proceeding.
                                                                 10           IT IS SO ORDERED.
                               Northern District of California




                                                                 11   Dated: May 3, 2013
United States District Court




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                                                                                                                                    KANDIS A. WESTMORE
                                                                 13                                                                 United States Magistrate Judge
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